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           UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION

JOSEPH LUZIER, III,

      Plaintiff,

v.                                          Case No. 4:24-cv-524-MW-MJF

V. HUGGINS, et al.,

      Defendants.
                                       /

                                 ORDER

      Plaintiff, a Florida prisoner proceeding pro se, filed an amended

civil-rights complaint. Doc. 10. Plaintiff is suing seven prison officials

with the Florida Department of Corrections. Plaintiff prepaid the court

filing and administrative fees. Doc. 6. 1

      On March 28, 2025, the undersigned ordered Plaintiff to serve

process on Defendants by the 90-day deadline, which is June 26, 2025.

See Doc. 11 (citing Fed. R. Civ. P. 4(m)). In response, Plaintiff has filed a

“Motion For Court’s Mercy and Request for Defendants to be Served by




1 Plaintiff admits that Plaintiff has “three strikes” under 28 U.S.C. §
1915(g). See Doc. 1-1 (“Due to me being a 3 strike inmate, I am required
to pay the $405.00 filing fee.”).
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Federal Marshals.” Doc. 15. Plaintiff alleges that Plaintiff lacks

“necessary financial means to pay a Process Server.” Id. at 1.

     Because Plaintiff is not proceeding in forma pauperis, Plaintiff is

not entitled to service by a Marshal or someone specially appointed.

Rather, the decision to provide that assistance is within the court’s

discretion. See Fed. R. Civ. P. 4(c)(3) (providing that a district court “may”

order the United States Marshals Service to effectuate service); see also

Daker v. Ward, No. 23-10609, 2023 WL 7182358 (11th Cir. Nov. 1, 2023)

(denying pro se prisoner’s motion to order Marshal to serve defendants).

     The undersigned will deny Plaintiff’s request. Plaintiff’s allegation

of “not having necessary financial means to pay a Process Server,” Doc.

15 at 1, is belied by the fact that Plaintiff prepaid the $405.00 court filing

and administrative fees. See Doc. 6. Also, Plaintiff admitted in previous

filings that Plaintiff has money not only in Plaintiff’s inmate trust

account but also in a bank account held by Plaintiff’s mother. Doc. 5 at 1.

      Plaintiff’s filings also indicate that an attorney has been assisting

Plaintiff. An attorney filed a complaint with the FDC on Plaintiff’s behalf

regarding Defendants’ conduct in this case. See Doc. 10-1, Ex. A (FDC

Complaint Form submitted by Loren Rhoton describing Rhoton’s


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relationship to Plaintiff as “Attorney” and stating that Rhoton was filing

the complaint “on behalf of my client Joseph Luzier, DC # E24178”). Also,

on February 10, 2025, a person with PACER access assisted Plaintiff in

completing the “Prior Litigation” section of the complaint form. See Doc.

10-1, Ex. B.

     For the reasons stated above, it is ORDERED:

     1.    Plaintiff’s “Motion for Court’s Mercy and Request for

Defendants to be Served by Federal Marshals,” Doc. 15, is DENIED.

     2.    Plaintiff’s deadline to serve Defendants remains JUNE 26,

2025.

     3.    Plaintiff’s failure to timely serve a Defendant or obtain that

Defendant’s waiver of service likely will result in dismissal of Plaintiff’s

claim(s) against that Defendant.

     SO ORDERED on May 19, 2025.

                                    /s/ Michael J. Frank
                                    Michael J. Frank
                                    United States Magistrate Judge




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